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      YORK MELLON FKA THE BANK OF NEW
  7   YORK SUCCESSOR TRUSTEE TO
      JPMORGAN CHASE BANK, N.A., AS
  8   TRUSTEE FOR THE BEAR STEARNS ALT-
      A TRUST, MORTGAGE PASS-THROUGH
  9   CERTIFICATES, SERIES 2005-04
 10
                              UNITED STATES BANKRUPTCY COURT
 11
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 12
       In re                                               Case No. 8:23-bk-10898-TA
 13
       JEFFREY S BEIER,                                    Chapter 11
 14

 15                   Debtor(s).                           OPPOSITION TO DEBTOR’S MOTION
                                                           FOR ORDER IMPOSING STAY [DKT
 16                                                        NO. 9]

 17                                                        SUBJECT PROPERTY :
                                                           10 Tucson, Coto De Caza Area,
 18                                                        California 92679

 19                                                        HEARING:
                                                           Date: May 23, 2023
 20                                                        Time: 10:30 a.m.
                                                           Ctrm: Crtrm 5B, 411 W Fourth St., Santa
 21                                                              Ana, CA 92701.

 22

 23            THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK SUCCESSOR

 24 TRUSTEE TO JPMORGAN CHASE BANK, N.A., AS TRUSTEE FOR THE BEAR STEARNS

 25 ALT-A TRUST,          MORTGAGE PASS-THROUGH                  CERTIFICATES, SERIES 2005-04

 26 (“Creditor”),by and through its authorized loan servicer, Bank of America Mortgage (“BANA”) secured

 27 creditor of the above captioned Debtor, Jeffrey S Beier (“Debtor”) hereby submits its Opposition to

 28 Debtor’s Motion for Imposing Stay (“Opposition”) filed by the Debtor at Docket No. 9.

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  1
                                           I.       INTRODUCTION
  2

  3          Debtor files the instant Motion for Order Imposing a Stay or Continuing the Automatic Stay
  4 (“Motion to Extend Stay”) seeking a court order extending the automatic stay under 11 U.S.C.

  5 §§362(c)(3)(B) & (C) as the instant case represents the second bankruptcy filing within the last year and

  6 Debtor’s Fifth Bankruptcy Case. However, Creditor asserts Debtor failed to meet his burden ofproof

  7 to demonstrate the stay should be extended. A presumption of bad faith applies under the Bankruptcy

  8 Code as the Court dismissed the prior case within the last year based on Debtor’s failure to comply with

  9 the provisions of the Code and a Court Order. Creditor has been unable to exercise its rights under state

 10 law as Debtor has filed multiple bankruptcy cases and state court lawsuits to hinder or delay Creditor’s

 11 rights. Debtor filed the instant Bankruptcy Case on the eve of the scheduled foreclosure, a sale Creditor

 12 has been attempting to complete for years. While Debtor alleged the stay should be imposed as to the

 13 Property, Debtor’s Schedules suggest title to the Property is held in the name of a trust. Debtor hasfailed

 14 to rebut the presumption of bad faith with clear and convincing evidence to the contrary.

 15           Further, Debtor has failed to present sufficient evidence of a substantial change in circumstances
 16 to justify re-imposing the stay. While Debtor alleges he filed the instant Bankruptcy Case in good faith

 17 as he was out of the country when he filed the prior case, there is no evidence to suggest Debtor’s

 18 financial circumstances have improved since the dismissal of the Fourth Case. Further, based on the

 19 United States Trustee’s Motion to Dismiss, Debtor has continued his pattern of non-compliance. While

 20 the Debtor alleged the Property is rented and will be sold, the Debtor failed to list income on ScheduleI,

 21 and the Debtor’s Declaration suggests the tenant has since vacated the Property. Debtor has failed to

 22 show a significant change in circumstances to overcome the presumption of bad faith to justify a new

 23 filing or imposition of the automatic stay. As a result, the Motion to Extend the Stay must be denied.

 24 /././

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 26 /././

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  1                                           II. STATEMENT OF FACTS1
  2         A. THE SUBJECT LOAN
  3              On March 2, 2005, Debtor and Toni Beier (the “Borrowers”) executed a promissory note (the
  4 “Note”) in the original sum of $1,470,000.00. The Note reflects it was indorsed. The Note is secured by

  5 a Deed of Trust (“Deed of Trust”) granting an interest in the real property located at 10 Tucson, Coto

  6 De Caza Area, California 92679 (“Property”). The Deed of Trust reflects that it was duly recorded in

  7 the County Recorder’s Office. The Note and Deed of Trust are collectively referred to as the “Subject

  8 Loan”. Subsequently, interest in the Subject Loan was assigned to Creditor. Copies of the Note, Deed,

  9 and Assignment are collectively attached hereto as Exhibit 1.

 10         B. THE FORECLOSURE
 11              On October 14, 2022, Creditor recorded its most recent Notice of Default (“NOD”), which
 12       listed a contractual default of $1,885,886.84. A copy of the NOD is attached hereto as Exhibit 2.
 13              On January 24, 2023, Creditor recorded its most recent Notice of Sale (“NOS”), which listed a
 14       sale date of March 20, 2023. A copy of the NOS is attached hereto as Exhibit 3.
 15              Due to the multiple bankruptcy cases filed by the Debtor, Creditor postponed the sale, which is
 16       currently scheduled for June 2, 2023.
 17         C. STATE COURT LITIGATION
 18              On or about March 7, 2017, Debtor filed a Complaint in the Superior Court of California,
 19 County of Orange against Creditor and BANA and was assigned Case 30-2017-00907172, challenging

 20 standing and the rights of the defendants to proceed with foreclosure. The defendants obtained summary

 21 judgment dismissing the case, and that dismissal was upheld at the California Court of Appeal and then

 22 at the California Supreme Court.

 23              On March 8, 2023, Debtor filed another Complaint in the Superior Court of California, County
 24 of Orange against Creditor and BANA and was assigned Case No. 30-2023-01312331 (“State Court

 25 Complaint”) again challenging standing and the rights of the defendants to proceed with foreclosure.

 26
      1
          Pursuant to Rules 201(b) and 201(d) of the Federal Rules of Evidence, which are made applicable to this
 27 proceeding by Rule 9017 of the Federal Rules of Bankruptcy Procedure, Creditor requests that the Court take
      judicial notice of the documents and other records on file in the this case and any recorded documents.
 28

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  1 Further, Debtor filed an Ex Parte Application for a TRO to stay the scheduled foreclosure sale.

  2           On March 17, 2023, the State Court entered an order denying the TRO.
  3           On April 20, 2023, Creditor filed a Motion to Dismiss the Complaint. A hearing on the Motion
  4 to Dismiss is scheduled for May 25, 2023.

  5           The State Court proceedings are now stayed due to the Bankruptcy filing.
  6           A copy of the State Court docket is attached hereto as Exhibit 4.
  7         D. THE PRIOR BANKRUPTCY CASES
  8           On April 25, 2008, Borrowers filed a prior bankruptcy petition under Chapter7 of the
  9 Bankruptcy Code and were assigned Case No. 8:08-bk-12163-RK (the “First Case”). On August 21,

 10 2008, the Court entered a Discharge Order in the First Case. On January 13, 2009, the Court entered

 11 an Order Dismissing the First Case. A copy of the docket from the First Case is attached hereto as

 12 Exhibit 5.

 13           On February 11, 2009, Debtor filed a second prior bankruptcy petition under Chapter 13 of the
 14 Bankruptcy Code and was assigned Case No. 8:09-bk-11124-TA (the “Second Case”). On October 1,

 15 2009, the Court entered an Order Dismissing the Second Case. A copy of the docket from the Second

 16 Case is attached hereto as Exhibit 6.

 17           On July 1, 2010, Debtor filed a third voluntary bankruptcy petition under Chapter 7 of the
 18 Bankruptcy Code and was assigned Case No. 8:10-bk-19081-TA (the “Third Case”). On March 10,

 19 2011, the Court entered an Order Dismissing the Third Case. A copy of the docket from the Third Case

 20 is attached hereto as Exhibit 7.

 21           On March 17, 2023, three (3) days before the scheduled foreclosure sale, Debtor filed a
 22 fourth voluntary bankruptcy petition under Chapter 7 of the Bankruptcy Code and was assigned Case

 23 No. 8:23-bk-10556-TA (the “Fourth Case”).Notably, Debtor listed the Subject Property as his service

 24 address on PACER. Further, Debtor listed the Subject Property as his address on the petition in the

 25 Fourth Case. (See Fourth Case, Dkt No. 1).

 26 /././

 27 /././

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  1           On April 4, 2023, the Court entered an Order Dismissing the Fourth Case based on the Debtor’s
  2 failure to file required information. A copy of the docket from the Fourth Case is attached hereto as

  3 Exhibit 8.

  4

  5       C. THE INSTANT BANKRUPTCY CASE
  6           On April 28, 2023, Debtor filed the instant fifth voluntary petition under Chapter 11 of the
  7 Bankruptcy Code in the Central District of California – Santa Ana Division and was assigned

  8 bankruptcy case number 8:23-bk-10898-TA (the “Bankruptcy Case”). The Petition states the Debtor

  9 now lives in Moscow, Russia. At the same time, Debtor stated he is filing in this District as over the last

 10 180 days he has lived in this District longer than any other district. (See Dkt. No. 1).

 11           Pursuant to the sworn Bankruptcy Schedules, Debtor listed no income on Schedule I. Further,
 12 Debtor failed to list any expenses associated with the Subject Loan/Property on Schedule J (i.e. the

 13 mortgage payments, taxes, or insurance). At the same time, Debtor’s Statement of Financial Affairs

 14 suggests the Debtor earns rental income and receives family contributions. (See Dkt No. 1).

 15           The Subject Property is the only Property listed on Schedule A, with an alleged value of
 16 $3,117,300.00. Creditor’s Claim is listed a disputed on Schedule D in the amount of $2,757,616.00.

 17 Further, Debtor indicated on Schedule B that the Beier 10 Tucson Trust “may be the title owner to the

 18 real property.” (See Dkt No. 1).

 19           On May 2, 2023, Debtor filed a Motion to Impose or Extend the Automatic Stay (“Motion to
 20 Extend Stay”). (Dkt No. 9). In the Motion to Extend, Debtor requested the extension of the automatic

 21 stay under §362(c)(3). Debtor alleged the instant fifth Bankruptcy Case was filed in good faith as the

 22 “Debtor is intending to utilize his real property to generate income in a plan of reorganization and there

 23 is a sufficient equity cushion.” Debtor alleges he will generate income from renting the Property for

 24 approximately one year and then sell the Property at the end of the year. Further, Debtor alleged the

 25 presumption of bad faith should not apply as the original case was filed as an emergency petition…after

 26 due diligence was performed by Debtor’s counsel it became impossible to prepare the necessary

 27 paperwork to finish the petition within the necessary time period because the Debtor lives outside the

 28

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  1 country.

  2           Pursuant to the Debtor’s Declaration in Support of the Motion, the Property is currently rented
  3 for $7,500 per month, but the tenant is leaving on May 15, 2023.

  4           On May 10, 2023, the United States Trustee filed a Motion to Dismiss the Bankruptcy Case
  5 (“Motion to Dismiss”) based on failure timely to provide information or attend meetings reasonably

  6 requested by the United States Trustee. Debtor has not complied with any of the requirements set forth

  7 in the U.S. Trustee’s Guidelines and Requirements, including but not limited to the Debtor’s failure to

  8 provide the U.S. Trustee with (1) evidence that all pre-petition bank accounts have been closed; (2)

  9 evidence that debtor-in-possession bank accounts have been opened; and (3) proof of insurance covering

 10 liability as it relates to the Debtor’s Trabuco Canyon Property. (Dkt No. 18). According, Debtor has

 11 continued his pattern of non-compliance with the provisions of the Bankruptcy Code and Bankruptcy

 12 Rules.

 13
                                                   III. ARGUMENT
 14
          A. DEBTOR HAS FAILED TO MEET HIS BURDEN TO JUSTIFY AN EXTENSION OF
 15          THE AUTOMATIC STAY
 16           1.      Legal Standard
 17           Section 362(c)(3)(A) of the Bankruptcy Code provides, “if a single or joint case is filed by or
 18 against debtor who is an individual in a case under chapter 7, 11, or 13, and if a single or joint case of

 19 the debtor was pending within the preceding 1-year period but was dismissed,…the stay under [§362(a)]

 20 with respect to any action taken with respect to a debt or property securing such debt…shall terminate

 21 with respect to the debtor on the 30 th day after the filing of the latter case.”11 U.S.C. § 362(c)(3)(A). On

 22 the motion of a party in interest for continuation of the automatic stay and upon notice and a hearing,

 23 “the court may extend the stay in particular cases as to any or all creditors…after notice and a hearing

 24 completed before expiration of the 30-day period only if the party in interest demonstrates that the

 25 filing of the latter case is in good faith as to the creditors to be stayed.” 11 U.S.C. §362(c)(3)(B)

 26 (emphasis added). A case is presumptively not filed in good faith:

 27
              (i)     as to all creditors, if:
 28

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  1                  (I)     more than 1 previous case under any of chapters 7, 11, and 13 in which
                             the individual was a debtor was pending within the preceding 1-year
  2                          period;
  3                  (II)    a previous case under any of chapter 7, 11, and 13 in which the
                             individual was a debtor was dismissed within such 1-year period,
  4                                after the debtor failed to:
  5                          (aa)    file or amend the petition or other documents as required by the
                                     title or the court without substantial excuse…;
  6                          (bb)    provide adequate protection as ordered by the court; or
                             (cc)    perform the terms of a plan confirmed by the court; or
  7
                     (III)   there has not been a substantial change in the financial or personal
  8                          affairs of the debtor since the dismissal of the next most previous case
                             under chapter 7, 11, or 13 or any other reason to conclude that the later
  9                          case will be concluded with a discharge if filed under chapter 7 or a plan
                             that will be fully performed if filed under chapters 11 or 13.
 10
             (ii)    as to any creditor that commenced an action under subsection (d) in a previous
 11                  case in which the individual was a debtor if, as of the date of dismissal of such
                     case, that      action was still pending or had been resolved by terminating,
 12                  conditioning, or limiting the stay as to actions of such creditor…

 13

 14 11 U.S.C. § 363(c)(3)(C)(i)-(ii). The debtor bears the ultimate burden of persuasion to demonstrate

 15 through clear and convincing evidence to the contrary that the presumption of bad faith does not

 16 apply. In re Casteneda, 342 B.R. 90, 94 (Bankr. S.D. Cal. 2006); 11 U.S.C. § 362(c)(3)(C).

 17          2.      This Case Was Presumptively Filed in Bad Faith.

 18          The instant case was not filed in good faith as a matter of fact and law. Indeed, the presumption

 19 prescribed by section 362(c)(3) applies in this case. First, the presumption arises because Debtor’s

 20 Fourth Case was pending within the preceding year of this case. See 11 U.S.C. § 362(c)(3)(C)(i)(I).

 21 Second, the presumption arises because Debtor’s Fourth Case was dismissed, in part, based on Debtor’s

 22 failure to comply with the provisions of the Bankruptcy Code, file required documents, or comply with a

 23 Court Order. 11 U.S.C. § 362(c)(3)(C)(i)(II). Debtor fails to offer a reasonable explanation as to why he

 24 failed to comply with the provisions of the Bankruptcy Code in the Fourth Case (or prior cases, or this

 25 case). While Debtor alleged he lives out of the country, Debtor alleged on the Fourth Case petition that

 26 he resided as the Subject Property as of the filing of the Fourth Case. Further, residing in a different

 27 county does not alleviate the Debtor from the requirements of the Bankruptcy Code and Rules. Creditor

 28 questions whether the Debtor’s residence outside of the United States qualifies the Debtor to file the

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  1 instant Bankruptcy Case in this District. Third, as discussed in greater detail below, the presumption

  2 arises as Debtor has failed to demonstrate a substantial change in his financial affairs since the dismissal

  3 of the Fourth Case. 11 U.S.C. § 362(c)(3)(C)(i)(III). In light of the foregoing, Debtor has the burden of

  4 establishing by clear and convincing evidence that this case was filed in good faith. Debtor has failed

  5 to do so.

  6           3.      Debtor Fails to Rebut the Presumption with a Change in Circumstances.
  7           Debtor failed to provide an adequate explanation as to how Debtor’s financial circumstances
  8 have improved to suggest the instant case will lead towards a confirmed plan. Other than the Debtor’s

  9 Declaration, the Motion to Extend the Stay fails to include any evidence to support Debtor’s assertions.

 10           First, this is the Debtor’s fifth bankruptcy case. Over the last decade, Debtor repeatedly failed to
 11 comply with the provisions of the Bankruptcy Code or complete a plan of reorganization.

 12           Second, Debtor alleged the stay should be imposed in the instant Bankruptcy Case as “Debtor is
 13 intending to utilize his real property to generate income in a plan of reorganization and there is a

 14 sufficient equity cushion.” Debtor alleged he will generate income from renting the Property for

 15 approximately one year and then sell the Property at the end of the year. Further, Debtor alleged the

 16 presumption of bad faith should not apply as the original case was filed as an emergency petition…after

 17 due diligence was performed by Debtor’s counsel it became impossible to prepare the necessary

 18 paperwork to finish the petition within the necessary time period because the Debtor lives outside the

 19 country.

 20            Regardless of where the Debtor resides, the Debtor’s pattern of non-compliance hascontinued in
 21 this case. Indeed, the United States Trustee filed a Motion to Dismiss based on Debtor’s failure timely to

 22 provide information or attend meetings reasonably requested by the United States Trustee. Debtor has

 23 not complied with any of the requirements set forth in the U.S. Trustee’s Guidelines and Requirements,

 24 including but not limited to the Debtor’s failure to provide the U.S. Trustee with (1) evidence that all

 25 pre-petition bank accounts have been closed; (2) evidence that debtor-in-possession bank accountshave

 26 been opened; and (3) proof of insurance covering liability as it relates to the Debtor’s Trabuco Canyon

 27 Property. (Dkt No. 18). According, Debtor’s circumstances have not improved as Debtor has continued

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  1 his pattern of non-compliance with the provisions of the Bankruptcy Code and Bankruptcy Rules.

  2           Pursuant to the Debtor’s Declaration , the Property is currently rented for $7,500 per month, but
  3 the tenant is leaving on May 15, 2023. Accordingly, the Debtor will not have income to pay the Claim.

  4 Further, the alleged rental income of $7,500 per month is less than the contractual payment of

  5 $9,326.89. However, pursuant to the sworn Bankruptcy Schedules, Debtor listed no income on

  6 Schedule I. Further, Debtor failed to list any expenses associated with the Subject Loan/Property on

  7 Schedule J (i.e. the mortgage payments, taxes, or insurance). At the same time, Debtor’s Statement of

  8 Financial Affairs suggests the Debtor earns rental income and receives family contributions. (See Dkt

  9 No. 1).

 10           While the Debtor alleges the Property will be sold, Debtor has yet to employ a broker to list the
 11 Property for sale or employed an appraiser. If the Debtor truly intended to sell the Property and pay

 12 Creditor’s Claim in full, he would have done so prior to the scheduled foreclosure sale. Rather, Debtor

 13 has failed to make payments on the loan for over a decade. The Subject Loan is contractually due for the

 14 September 1, 2007 payment. Debtor has filed multiple lawsuits and five Bankruptcy cases to delay the

 15 foreclosure of the Property. Creditor does not believe the Debtor has any intention of paying Creditor’s

 16 Claim or selling the Property.

 17           There is no indication the Debtor’s financial circumstances have improved since the dismissal of
 18 the Fourth Case. If anything, the Debtor’s financial circumstance has declined due to missed payments,

 19 the loss of income, and the continued accrual of interest and fees on the Debtor’s secured obligations.

 20 Thus, there has not been a substantial change in the financial or personal affairs of Debtor since the

 21 dismissal of the Fourth Case or any other reason to conclude that the instant Bankruptcy Case will result

 22 in a confirmed Plan.

 23           Moreover, Debtor is already in violation of the Bankruptcy Code and Rules as outlined in the
 24 Motion to Dismiss.

 25           Accordingly, Debtor has failed to meet his burden through clear and convincing evidence to
 26 the contrary that the presumption of bad faith does not apply. As a result, the Motion to Extend must be

 27 denied.

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  1           4.      There is No Likelihood of a Successful Reorganization
  2           In United Sav. Ass’n v. Timbers, the Supreme Court stated that, “there must be a reasonable
  3 possibility of a successful reorganization within a reasonable time.” United Sav. Ass’n. of Texas v.

  4 Timbers of Inwood Forest Associates, Ltd, 484 U.S. 365, 376 (1988).

  5           First, there is insufficient equity in the Property. The Subject Property is the only Property listed
  6 on Schedule A, with an alleged value of $3,117,300.00. Creditor’s Claim is listed a disputed on

  7 Schedule D in the amount of $2,757,616.00. Even if the Debtor’s valuation is accurate, when an eight

  8 percent (8%) cost of sale is included ($249,384.00), the resulting equity cushion is only $109,850.00.

  9 As the Debtor proposes to make no payments to creditor, the amount of Creditor’s Claim will continue

 10 to increase, depleting any available equity in the Property. Accordingly, there is insufficient equity to

 11 support a sale or Plan of reorganization or liquidation. As there is little to no equity in the Property to

 12 pay claims, there is no prospect of a successful reorganization within the foreseeable future.

 13           Second, Debtor indicated on Schedule B that the Beier 10 Tucson Trust “may be the title owner
 14 to the real property.” (See Dkt No. 1). If the Debtor does not own the Property, it is not property of the

 15 Bankruptcy Estate.

 16           Finally, there is no indication Debtor generates sufficient income to cure the substantial default
 17 on Creditor’s Claim, resume contractual payments, and pay unsecured creditors through a Plan.

 18 Pursuant to the Debtor’s Declaration in Support of the Motion to Extend, the Property is currently

 19 rented for $7,500 per month, but the tenant is leaving on May 15, 2023. Accordingly, the Debtor will

 20 not have income to pay the Claim. Further, the alleged rental income of $7,500 per month is less than

 21 the contractual payments of $9,326.89. However, pursuant to the sworn Bankruptcy Schedules, Debtor

 22 listed no income on Schedule I. Further, Debtor failed to list any expenses associated with the Subject

 23 Loan/Property on Schedule J (i.e. the mortgage payments, taxes, or insurance).

 24           Put simply, Debtor has already been granted an opportunity to reorganize his debts. Debtor
 25 failed to present any evidence or even an explanation to suggest this Chapter 11 will be feasible given

 26 Debtor’s prior defaults, prior cases, and inability to comply with the provisions of the Bankruptcy Code.

 27           Creditor asserts Debtor’s financial circumstance has not substantially improved. If anything,
 28

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  1 Debtor’s financial circumstance is worse as the contractual arrears owed on Creditor’s Claim have

  2 increased due to interest and fees. If Debtor truly intended to reorganize his debts, he would have availed

  3 himself of the reorganization protections of the Bankruptcy Code during the prior cases. Debtor has

  4 improperly sought to use this Bankruptcy Court as a revolving door through five consecutive

  5 bankruptcy cases and multiple state court lawsuits to delay Creditor’s rights under state law. As the

  6 instant case represents the second bankruptcy case within one year, it does not appear the Debtor filed

  7 the case in good faith.

  8           Debtor bears the ultimate burden of persuasion to demonstrate through clear and convincing
  9 evidence to the contrary that the presumption of bad faith does not apply. Debtor has failed to submit

 10 any evidence to demonstrate that the presumption does not apply. As a result, Debtor has failed to meet

 11 his burden. Simply put, the totality of the circumstances reflects that Debtor filed this case for no other

 12 purpose than to delay and hinder creditor rights under state law. As a result, the Motion to Extend the

 13 Stay should be denied.

 14 WHEREFORE: Creditor respectfully request:

 15           1.      That the Court deny the Motion to Extend the Stay; and
 16           2.      Such other relief as the Court deems just and proper.
 17                                                   Respectfully submitted,
 18                                                   ALDRIDGE PITE, LLP
 19

 20 Dated: May 11, 2023                               /s/ Gregory P. Campbell
                                                      Gregory P. Campbell (CA SBN 281732)
 21                                                   Attorneys for Creditor
 22

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                                        PROOF OF SERVICE OF DOCUMENT
    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                              8880 Rio San Diego Drive, Suite 725 San Diego, CA 92108

A true and correct copy of the foregoing document entitled: Opposition to Debtor’s Motion for Order Imposing Stay [DKT
No. 9] will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
    May 11, 2023                            , I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission
at the email addresses stated below:

U.S. TRUSTEE:
ustpregion16.sa.ecf@usdoj.gov
Michael J Hauser- michael.hauser@usdoj.gov

ATTORNEY FOR DEBTOR:
Anerio V Altman - LakeForestBankruptcy@jubileebk.net

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)         May 11, 2023 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

PRESIDING JUDGE:
Honorable Theodor Albert
U.S. Bankruptcy Court Central District Of California (Santa Ana)
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5085/ Courtroom 5B
Santa Ana, CA 92701-4593

DEBTOR:
Jeffrey Beier
PO Box 7644
Laguna Niguel, CA 92677

                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


05/11/2023                   Lauren Timby                                                  /s/ Lauren Timby
Date                           Printed name                                                        Signature
        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                     F 9013-3.1.PROOF.SERVICE
